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                       APPENDIX I
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                       ATTORNEY NETWORK COLLECTION AGREEMENT




   This ATTORNEY NETWORK COLLECTION AGREEMENT is between PALISADES
   COLLECTION, L.L.C.. a Delaware limited liability company, with offices at 210 Sylvan
   Avenue, Englewood Cliffs, New Jersey 07632 ("Palisades"') and Aries Capital Partners. Inc.
   d/b/a Aries Data Collections, 45 Kensico Drive, Mount Kisco, NY, I 0549 (''Agency").

   Introduction. This Agreement is intended to set forth the terms by which Agency will be
   providing services to Palisades and Palisades Acquisition XVI, LLC (the "O"V.11er" and together
   \\.1th Palisades, collectively, "Palisades Entities") with respect to certain defaulted consumer
   receivables owned by the O\lmer and referred to Agency by Palisades ("Receivables").
   For good and valuable consideration, the receipt of which is hereby acknowledged. and m
   exchange for the mutual covenants set forth below, Agency and Palisades agree as follows:
   I . Engagement of Agency.
       Palisades hereby retains Agency to collect Receivables in accordance with. and subject to the
       terms of. this Agreement. Agency acknowledges that all Receivables (and the collections
       thereon) are and will remain the property of Owner and that Palisades is not required to refer
       any specific number of accounts to Agency even though this Agreement may be in effect.

   2. Services.
      a) Agency agrees to use its best efforts to collect each Receivable.
      b) Agency will take such action as is reasonably necessary to collect Receivables,
         employing those methods and services as Agency may reasonably determine to maximize
         the recovery of Receivables. However, Agency may only take actions that are (i)
         consistent \Vith Agency's written policies and procedures as delivered to. and approved
         by, Palisades, (ii) ethical, professional, prudent and generally accepted procedures in the
         consumer collection industry. (iii) in compliance with all applicable federal, state and
         local laws. rules and regulations, including without limitation. the Fair Debt Collection
         Practices Act (collectively, "Requirements of Law") and (iv) approved by Palisades.
         Agency may only use its O\Vn employees to perform the services under this Agreement
         and may not subcontract or delegate any of those services. except with respect to legal
         action, judgment enforcement, asset location and skip tracing as specified in this
         Agreement. No services shall be performed from, through or using a location outside the
         United States, except as may be expressly authorized in writing by Palisades, in its sole
         discretion.
      c) If Agency determines that legal action is appropriate with respect to the collection of any
         Receivable. Agency shall forward any such receivable to an appropriate attorney or law
         finn in its Legal Network ("Collection Counsel''). Agency will continue its collection
         efforts during the pendency of legal action with respect to any Receivable. Agency may
         not authorize Collection Counsel to pursue foreclosure of a debtor's residence without
         specific written permission of Palisades. If debtor files a substantive answer or
         counterclaim, Agency will immediately notify Palisades and seek instructions before




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           instructing Collection Counsel to proceed further with the legal action. Agency ~ill
           instruct Collection Counsel to seek counsel fees in connection with any litigation to the
           extent collection of such fees is permissible under applicable Jaw. Counterclaims filed in
           the ordinary course with a defendant's answer and not asserting a substantive Claim
           against Palisades shall be defended by Collection Counsel without additional
           compensation. The defense of substantive claims against Palisades shall be billed by
           Collection Counsel at a rate of           \ per hour. Palisades reserves the right to either
           retain said attorney or to retain its ov.n counsel for defense of substantive claims filed
           against Palisades. Agency and "Collection Counsel" shall work in Palisades' best
           interest to defend any Order to Show Cause or Motion to open any judgment but reserve
           the right to not defend such an Order or Motion if they determine that such a course of
           action is in Palisades' best interests.
      d)   Agency is authorized to settle or compromise any Receivable balance without Palisades'
           consent for        or more of the outstanding charged off balance ("Minimum Settlement
           Percentage"). provided that the parties may agree in writing to a different Minimum
           Settlement Percentage as to any specified Receivables. Agency is authorized to agree to
           a deferred payment schedule for such a settlement of up to three (3) months. Agency is
           not authorized to approve the charging of interest for defen-ed payments. except \vith
           Palisades' prior written consent. Agency will promptly notify Palisades of the tenns of
           any settlement. Agency may not send mass settlement letters without the express \Vritten
           approval of Palisades.
      e)   Interest on all Receivables forwarded to Collection Counsel will accrue at the legal rate
           of interest under applicable state law unless there is a duly enforceable contract that sets
           forth the applicable interest rate. Upon possession of said contract by Agency, interest
           will accrue at the rate of interest set forth in the agreement or note evidencing the
           Receivable. including the default interest rate, if applicable; provided however. if any
           applicable law prohibits such rate, Agency will calculate interest at the highest rate
           permitted by such applicable law. Palisades reserves the right to instruct Agency not to
           accrue or collect any, or a certain portion of, the interest on any Receivable
      f)   Agency will maintain. on its electronic system of record, complete notes and
           documentation of all payments, credits. and any other collection activities with respect to
           each Receivable. Agency \\ill also maintain in its care and custody, in trust for the
           Owner. all agreements and the original docwnent files with respect to each Receivable
           for which it obtains such documents, except where the original of such documents may
           be required by Collection Counsel. in which case Agency will maintain a full copy of all
           such documents. and shall ensure that originals are returned to Palisades upon closing of
           an account. Agency will follow all reasonable instructions of Palisades ,.,·ith respect to the
           transmission and delivery of the above described records, data. agreements and files to
           Palisades upon tem1ination of Agency's services as to any Receivable. Palisades and
           Ovmer's Lender will have the right from time to time in their discretion to inspect all
           files, documents and other records relating to any Receivable and upon request. Agency
           will deliver to Palisades and O\.\ner's Lender all copies of original document files in
           Agency's possession.
      g)   Agency will accurately and timely code all Receivables for status on Agency" s system of
           record, and will timely notify Palisades of the correct status codes upon Palisades'
           request. The coding will be kept according to generally accepted practices in the



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            consumer collection industry in a manner acceptable to Palisades (e.g. bankruptcy,
            deceased, incarceration, disputes, settlements in full, payment arrangements, judgments,
            cease communications, attorney involvement, etc.). Agency will name the Owner (or its
            designee, as may be directed by Palisades) as the ovmer of such Receivables in Agency's
            records.
      h)    Agency will promptly notify Palisades upon receipt of notice of a bankruptcy or
            insolvency proceeding with respect to any Debtor, including the date filed, the case
            number, the chapter. the attorney representing the debtor(s) and the district in which the
            proceeding commenced. Agency will not authorize the filing of a proof of claim in any
            such bankruptcy or insolvency proceeding vvithout the prior consent of Palisades.
      i)    Agency will promptly notify Palisades if Debtor is being assisted or represented by a debt
            counseling service. Agency will in its discretion approve each proposed plan of
            repayment of Receivables, provided all fees required to be paid to such debt counseling
            service will be paid solely by Agency and Agency will have no right of reimbursement
            by Pali sades.
      j)    If, after 180 days of receipt of a Receivable (excludes judgment placements) from
            Palisades, Agency is unable to collect on such Receivable because no suit has been filed
            or payment plan agreed to on which the debtor has made payments in accordance with its
            tenns, Agency's services \:vith respect to that Receivable will tern1inate and Agency \\ill
            immediately cease work with respect thereto and immediately deliver to Palisades all
            written infonnation with respect to that Receivable along with a copy of any and all
            written or electronic communication with the related Debtor. Neither Agency nor its
            Attorney Network shall have a right of lien on any Receivable or judgment forv.,1arded to
            them for collection.
       k)   Agency may pursue collection of all judgments for one ( 1) year after entry. Thereafter, as
            to judgments on which no payments or settlement agreements have been made, Agency's
            services will terminate and Agency and Collection Counsel \viii immediately cease work
            with respect thereto and immediately close their file and deliver to Palisades all \l\Titten
            information with respect to said Judgment along v/ith a copy of all '"Titten or electronic
            communication with the related Debtor. Neither Agency nor its Collection Counsel
            Network or any individual attorney shall have a right of lien on any judgment obtained by
            them or forwarded to them for collection. Agency shall provide monthly reports and any
            other reasonably requested reports documenting Agency's post-judgment collection
            efforts on each Judgment Receivable.

   3. Compensation.
      a) Subject to the tem1s of this Section 3, compensation for the services rendered by Agency
         hereunder will be at the rates set forth on the fee schedule attached as Appendix A. In no
         event \Vill Agency be entitled to compensation v.rith respect to accounts recalled under
         section 2j above or as to j udgrnents as to which Agency· s services have been tenninated
         pursuant to Section 2k above.
      b) Agency will not be entitled to compensation with respect to any Receivable if (i)
         payments are received more than ten (10) days after the termination of Agency's services
         with respect to that Receivable; provided, however, Agency will be entitled to
         reimbursement of those disbursements incurred by Agency prior to the date of
         tennination and approved by Palisades or (ii) payments are received by Palisades within
         the ten ( l 0) days from the date Agency began servicing that Receivable, except that with


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         respect to a Receivable on which a stipulation of settlement or other arrangement of
         payment has been made, whether by voluntary agreement or by legal execution. fixing
         specific dates for payment. either in full or in installments, and payments are thereafter
         received by Palisades on a regular basis in accordance with that arrangement, Agency
         will be entitled to compensation in accordance with the terms of this Agreement based on
         the an10unts collected. In the event there is a default in payment under that arrangement
         for a period of sixty (60) days, Agency will not be entitled to further compensation on
         that Receivable with respect to any payment received by Palisades thereafter. Agency
         shall not be entitled to any reimbursement for amounts that may be deducted by a prior
         ov.'Iler of the Receivables in connection with payments made by the Debtor directly to
         such prior ovmer.
      c) Agency will be entitled to reimbursement of court costs from monies collected. Court
         costs are defined as any filing costs authorized by Agency in the pre-litigation and/or
         post-litigation process. Any disbursements or fees other than court costs shall not be
         incurred by Agency without prior v.Titten consent by Palisades. Agency will provide
         Palisades with a weekly listing of receipts of court costs. Any court costs. disbursements
         or fees that have been approved and reimbursed to Agency by Palisades will be deducted
         from amounts collected by Agency pursuant to Appendix A. Agency shall remit to
         Palisades all gross collections by Agency, less reimbursable costs and applicable
         contingency fees. ("net collections"). Such net collections shall be fonvarded to
         Palisades via \Veekly wire transfer and must be received by Tuesday of the following
         week. Agency may hold non-guaranteed funds for a period of 7 days. Agency shall be
         reimbursed court costs out of dollars collected and shall not take a contingency fee on
         costs recovered. Payments will be applied in this order:

         a.   Court Costs
         b.   Interest
         c.   Principal
         d.   Attorney Fees

      d) Any negotiable instrument issued by a Debtor in full or partial payment of a Receivable
         which is returned to Agency unpaid after having been credited as collected will be
         reversed and charged back to Palisades within sixty (60) days of the date Agency notifies
         Palisades of that return. Agency will supply documentation of any charge back at the
         request of Palisades'. Agency will not be entitled to payment pursuant to Section 3(a)
         with respect to any such dishonored payment. On the fifth day of each month, Agency
         \Viii submit a report to Palisades of all dishonored items during the previous n1onth.
      e) Agency hereby waives its right to \.\ithhold. or setoff against, any collections for claims
         that Agency may have against Palisades, provided, however, that Agency retains, and
         does not waive, its right to be paid the compensation that it has earned for its services
         relating to a Receivable in accordance with this Agreement.
      f) During the period of time accounts are placed with Agency, Agency shall be entitled to a
         commission as outlined on Appendix A and Section 3 (c) on all payments made on
         accounts placed with Agency that are paid directly to Client. Client shall notify Agency
         of all direct payments received weekly.

   4. Insurance; Surety Bond; Trust Fund.


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      a) Agency and all Collection Counsel servicing Palisades' accounts shall maintain during
         the term of this Agreement comprehensive liability, negligence, errors and omissions,
         employee dishonesty and Fair Debt Collection Practices Act and Fair Credit Reporting
         Act insurance and insurance otherwise covering claims which may arise out of or in
         connection \vith Agency's employees or agents. Agency shall ensure that all Collection
         Counsel shall maintain professional malpractice insurance coverage. All insurance
         coverage required pursuant to this section will be maintained \Vith an insurance carrier
         reasonably satisfactory to Palisades and will be comprehensive and in a fonn and amount
         satisfactory to Palisades. provided, however. that such insurance will be for at least
         $1,000,000 in coverage.
      b) Agency and all Collection Counsel servicing Palisades' accounts shall maintain insurance
         of the types and amounts specified above naming '·Palisades Collection, L.L.C. , its
         affiliates and their respective successors and assigns" as additional insured and "Palisades
         Collection, L.L.C., its affiliates and their respective successors and assigns. as agent", as
         loss payee as to Receivables subject to this Agreement. At least ten (I 0) days prior to the
         expiration of each of its policies for such insurance, Agency will provide to Palisades
         evidence, reasonably satisfactory to Palisades, that the insurance has been renewed or
         replaced in accordance with the requirements of this Agreement.                Prior to the
         commencement of any services pursuant to this Agreement Agency will furnish
         documentary evidence satisfactory to Palisades that such insurance policies are in full
         force and effect. Agency agrees to provide to Palisades from time to time, upon request,
         evidence that such policies continue to be in full force and effect. If any coverage is
         amended, revoked or otherwise modified, Agency wil l promptly advise Palisades of the
         same in writing. Palisades must approve of any such modification in \vriting prior to the
         commencement or continuation of the provision of services of Agency pursuant to this
         Agreement.
      c) Palisades will have the right at any time to require Agency to furnish a surety bond to
         ensure payment to Palisades of amounts collected by Agency with respect to any
         Receivable.
      d) Agency shall establish and maintain a dedicated trust fund in \vhich it shall retain all
         monies collected for Owner. Such trust fund shall not commingle monies otherwise
         collected for Palisades. Agency shall send Palisades monthly reconciliations for the
         dedicated trust fund. At the time it establishes the dedicated trust fund, Agency shall
         provide to Palisades the relevant information regarding the dedicated trust fund, including
         the bank name, contact name, bank address, bank phone number, master account number
         and account name.

   5. Audits.
      Agency will inaintain all necessary records for Receivables and \vill cooperate with Palisades
      and Owner (and the Owner's primary lenders or the agent of such lenders, referred to as
      "Owner's Lender") in connection with any review of Receivables, revenue paid or received
      and all other pertinent infom1ation relating to Receivables. Palisades (and 0\\ner's Lender)
      \vill also be entitled to make periodic audits of the records of Agency with respect to all
      Receivables, including an audit of the dedicated trust fund. and Agency agrees to cooperate
      fully by providing full and immediate access to its premises to Palisades (and Ov..ner's
      Lender) representatives or agents during regular business hours and by making all files and


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      records relating to Receivables available to pem1it the audits to be completed promptly and
      efficiently.

   6. Representations and Warranties of Agency.
    Agency represents and wanants to Palisades as follows:

      a) Agency is experienced and currently engaged in the consumer collection industry and has
         obtained all material licenses; permits and registrations necessary for the conduct of the
         servicing of receivables. Agency further agrees to submit to Palisades proof of such
         licenses, permits, and registrations (i) on or before the commencement of this Agreement,
         and (ii) at such other tin1es as Palisades may require.
      b) Agency will conduct its business and all services perfonned under this Agreement in
         compliance with all Requirements of Law.
      c) This Agreement constitutes the legal, valid and binding obligation of Agency,
         enforceable against Agency in accordance with its terms.

   7. Representations and Warranties of Palisades.

      a) Palisades represents and warrants to Agency that with respect to each Receivable
         assigned to Agency, Palisades \\·ill furnish copies of pertinent records showing the total
         amounts of the unpaid balance v.1th respect to each account to the extent that such
         records, if any, are in Palisades' possession. Palisades makes no representation or
         warranty as to any minimum number, dollar amount or proportion of accounts receivable
         which will be referred to Agency or the collectability of same.
      b) This Agreement constitutes the legal, ·valid and binding obligation of Palisades,
         enforceable against Palisades in accordance v.~th its tenns.

   8. Payments, Agency Reports; Live File Review.

      a) Agency will deposit into the dedicated trust fund as directed by Owner's Lender by wire
         transfer all collections received by Agency on all Receivables in any calendar week on or
         before every Tuesday of the next calendar week and will simultaneously send an
         electronic transmission report documenting such collections in a format acceptable to
         Palisades. Agency shall not, without the prior written consent of Ov..ner's Lender, take
         direction from any Palisades Entity with respect to such dedicated trust fund.
      b) Agency will furnish to Palisades, by the last Wednesday of each calendar month by
         electronic transmission a report of the status of each Receivable, a monthly collections
         report, and, if requested by Palisades, a Master File. "Master File" means a summary of
         account level data of Receivables in digital field fomrnt on CD-ROM, containing such
         data and fields as Agency may have on its system of record. If requested by Owner's
         Lender, Agency will provide copies of each of the items in this paragraph to Owner's
         Lender, provided that the Ov.ner's Lender has indicated in its request that Palisades has
         failed to provide such items as required in its agreements with the Owner's Lender.
      c) All reports will be in form and substance satisfactory to Palisades.
      d) Agency shall make available on secure website information \vith respect to the
         Receivables containing such data and fields, and in a format, acceptable to Palisades, and
         shall provide Palisades with secure, remote access to such website.


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   9. Changes of Status.
      Agency will promptly notify Palisades of, and correct its records to reflect. any infomrntion
      Agency receives relating to inaccurate Receivables data including, without limitation,
      addresses and phone numbers promptly after the making of the determination that its
      information is incorrect and verifying the corrected inforn.1ation.

   10. Agenc\' Inquiries.
       Upon Agency receiving any information concerning a Debtor's employment status. Agency
       will record in its records and, if requested by Palisades, advise Palisades. as to the status.

   11 . Indemnification by Agency.
        Agency agrees to indemnify, defend and hold each of Palisades, each other Palisades Entity,
        and their respective officers. directors. managers, attorneys, partners. employees and
        assignees (Palisades. each other Palisades Entity and each of the foregoing referred to as a
        "Palisades Indemnified Person") harmless from and against any and all liability. losses,
        damages, costs. penalties and expenses (including without limitation. reasonable attorneys '
        fees) (coilectively ··Losses") arising out of or relating to (i) any and all claims or complaints
        of any person or entity with respect to any of the methods, actions, procedures. devices or
        communications employed or made by Agency. its representatives or agents (including,
        without limitation, their respective employees) relating to collecting any of Receivables, (ii)
        any failure to comply with any applicable Requirements of Law by Agency, its
        representatives or agents. (including. without limitation, their respective employees), (iii)
        negligent or willful misconduct of Agency, its representatives or agents in connection \\~th
        the collection of Receivables, (iv) Agency' s failure to comply \Vith any of the terms and
        conditions of this Agreement. Neither party shall be liable to the other for incidental, special
        or consequential damages. Palisades and Agency will each promptly provide the other \\ith
        written notice of any claim. suit or action that may give rise to a right of indemnification for
        a Palisades Indemnified Person. The failure of Palisades to give prompt notice will not
        relieve Agency of its obligations to indemnify hereunder except to the extent Agency is
        materially prejudiced by such failure. If any such claim, suit or action of any kind is
        commenced against a Palisades Indemnified Person. Agency will. if requested by a Palisades
        Indemnified Person, assume at Agency's expense the defense (with counsel reasonably
        acceptable to a Palisades Indemnified Person) of such claim, suit or action and Agency will
        be liable for the costs and expenses thereof, including, without limitation, attorney' s fees and
        disbursements. Each Palisades Indemnified Person, in its sole discretion and at its own cost,
        may retain its own counsel and defend such claim. suit or action. Agency will cooperate
        fully with each Palisades Indemnified Person and its counsel in any claim, suit or action.

   12. Indemnification by Client.
      Palisades agrees to indemnify, defend and hold Agency, each other Agency Entity, and their
      respective . officers. directors, managers, attorneys. pru1ners, employees and assignees
      (Agency. each other Agency Entity and each of the foregoing referred to as an "'Agency
      Indemnified Person'') hann less from and against any and all liability, losses. damages, costs.
      penalties and expenses (including \\~thout limitation, reasonable attorneys' fees) (collectively
      "Losses'") arising out of or relating to (i) any and all claims or complaints of any person or
      entity with respect to any of the methods, actions, procedures. devices or communications


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      employed or made by Palisades, its representatives or agents (including. without limitation,
      their respective employees) relating to collecting any of Receivables, (ii) any failure to
      comply with any applicable Requirements of Law by Palisades, its representatives or agents,
      (including, without limitation, their respective employees), (iii) negligent or willful
      misconduct of Palisades, its representatives or agents in connection with the collection of
      ReceiV·ables, (iv) Palisades' failure to comply with any of the terms and conditions of this
      Agreement. Palisades and Agency will each promptly provide the other with \Hitten notice
      of any claim, suit or action that may give rise to a right of indemnification for an Agency
      Indemnified Person. The failure of Agency to give prompt notice will not relieve Palisades
      of its obligations to indemnify hereunder except to the extent Palisades is materially
      prejudiced by such failure. If any such claim. suit or action of any kind is commenced
      against an Agency Indemnified Person, Palisades will. if requested by an Agency
      Indemnified Person, assume at Agency's expense the defense (with counsel reasonably
      acceptable to an Agency Indemnified Person) of such claim. suit or action and Palisades will
      be liable for the costs and expenses thereof, including, without limitation, attorney's fees and
      disbursements. Each Agency Indemnified Person, in its sole discretion. may retain its 0\\11
      counsel and defend such claim. suit or action. Should Agency Indemnified Person seek its
      O\Vn counsel and defend such claim. Palisades shall not incur any costs for said defense.
      Palisades will cooperate fully with each Agency Indemnified Person and its counsel in any
      claim, suit or action.

   13. Term and Termination.

      a) This Agreement will be deemed entered into as of the date first written above, and unless
         tenninated as set forth herein, will continue until tenninated by mutual written agreement
         of tennination executed and delivered by Agency and Palisades. This Agreement, and
         the services with respect to any Receivables (the "Released Receivables'"). may be
         tern1inated for any reason by Palisades upon at least one (1) days prior written notice and
         by Agency upon at least thirty (30) days prior \.\Titten notice (''Termination"). Upon
         Termination, Agency and any attorneys to whom it has referred any Receivables. will
         discontinue any further servicing of the Released Receivables immediately upon receipt
         of such notice and immediately return to Palisades the materials and collections, and
         perform its other duties with respect to temiination as outlined herein. Neither Agency
         nor any attorneys to whom it has referred any Receivable shall have a lien on any
         Receivable returned to Palisades.
      b) Agency will immediately cease its services \vith respect to any Released Recei\'able upon
         the effective date of the Tennination, and thereafter will refer all Debtor inquiries and
         forward correspondence with respect to such Released Receivables account to Palisades
         or Palisades' designee. Within five (5) business days of the effective date of the
         Termination, or cessation of any services "V.ith respect to a Released Receivable, Agency
         will (i) return to Palisades all written information \vith respect to such Released
         Receivable (including, without limitation, documents furnished by and documents
         pertaining to ·any suit, action or proceeding), (ii) provide a report identifying the
         payments, if any. received with respect to such Released Receivable and the status of any
         suit, action or proceeding with respect to such Released Receivable and (iii) transmit to
         Palisades or its· designee all data relating to such Released Receivables in ,a format
         reasonably acceptable to Palisades.


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        c) Notwithstanding any termination of ihis Agreement. (i) each party will remain liable to
           the other in respect of any breach of this Agreement occurring prior to the date of
           Termination, (ii) each party v.ill remain liable to the other in respect of the obligations
           contained in sections 3, 5, 11, 12, 13, 14, 16 and 18 of this Agreement (all of which will
           sun•ive Termination) and (iii) Agency agrees to cooperate with Palisades with respect to
           any Receivables serviced by Agency prior to the date of Termination. All amounts held
           by Agency at the date of Tem1ination of this Agreement or received by Agency after the
           date of such Termination. with respect to any Released Receivable, will be immediately
           remitted to Palisades (nonvithstanding any provision for payment of collections on a
           different date). Until delivery of such amounts to Palisades, the remittance thereof, such
           amounts will be held by Agency in trust for the benefit of the Om1er.
        d) Notwithstanding anything contained in this Agreement to the contrary, if Palisades is
           teminated as "Servicer" under the applicable lending documents, the Owner's Lenders,
           without the consent of the parties hereto, may (i) upon notice to Agency. assume the
           rights of Palisades and the Owner hereunder and/or assign the rights of Palisades. the
           Owner and the Owner's Lenders hereunder to any Person or (ii) upon 30 days notice to
           Agency, terminate this Agreement. Agency agrees to provide, upon the request of
           Owner's Lenders, ·information with respect to the Receivables reasonably requested by
           such Owner's Lenders. Each of Palisades and Agency acknowledges and agrees that the
           0v.'I1er's Lenders are third party beneficiaries under this Agreement and shall have the
           full power to enforce their rights and benefits hereunder and that copies of this
           Agreement may be provided to the 0\\-'Iler's Lenders and their assigns on a confidential
           basis.

    14. Recall.
        Palisades reserves the right to recall any Receivable at any time. Neither Agency nor any
        attorney that it has referred a Receivable to has a right of lien on any Receivable recalled by
        Palisades. In the event of closure or recall. Agency if necessary, shall recall the account from
        its Network attorney, and tum over to Palisades immediately all data and materials relating to
        the recalled account in its possession.

    15. Notices. Any notice, request. consent or other communication to any party hereto must be in
        writing and will be deemed effective upon delivery when (i) delivered in person. or (ii) sent
        by facsimile, if promptly confinned in writing, or (iii) \Vhen sent by certified mail, returned
        receipt requested. with postage prepaid. or (iv) posted with a recognized national overnight
        carrier, addressed as follows:

    If to a Palisades Entity:                       lfto Agency:

            Palisades Collection. L.L.C.            Aries Data Collections
            210 Sylvan Avenue                       P.O. Box 742
            Englewood Cliffs, New Jersey 07632      Katonah, NY I 0536
            Fax#: (20 I) 569-4595                   Fax.#: (914) 666-2841
            Attention: Gary Stern. Manager          Attention: Matthew J. Blake




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    Either party may at any time change the address or facsimile number to which notices or other
    communications are to be sent by a notice to the other party given in accordance v.rith this
    Section 15.
    16. Confidentiality.
       All infom1ation directly or indirectly relating to Accounts placed with Agency by Palisades
       or to the existence and terms of the relationship between Agency and Palisades shall be
       considered to be both confidential and proprietary to Palisades. Agency covenants and agrees
       that it shall retain such information in confidence and not disclose or use such infonnation
       other than in accordance with this Agreement, such as in bidding on or servicing accounts for
       an originator of receivables serviced by Agency hereW1der. The covenants and agreements
       contained in this paragraph shall survive the termination of this Agreement. Similarly, the
       terms and conditions of this Agreement and Agency's methods of operation shall be
       considered and maintained by Palisades as confidential. Agency shall not use the name of
       any Palisades Entity in connection with its services under this Agreement, except to refer to
       the appropriate Palisades entity as the purchaser of the Receivable in Agency's collection
       letter. Agency will cause its employees, owners, directors, officers, managers, agents,
       representatives, successors and assigns to comply with this section of this Agreement.
       Palisades and Agency acknowledge that Agency's breach of this Section 16 will result in
       actual and substantial damages to Palisades, the amount of which will be difficult to ascertain
       with precision. Therefore, if Agency breaches this Section 16, Agency will pay Palisades as
       liquidated damages (a) $100.00 per Receivable with respect to each Receivable Agency may
       purchase or service in violation of this Section 16 and (b) $100,000.00 for each disclostrre
       made in violation of this Section 16. together with the fees and expenses (including without
       limitation attorneys fees) that Palisades may incur in recovering damages and in preventing
       Agency's further breach of this Section 16. Notwithstanding the above. Agency may
       disclose any of the fo regoing to the extent required by law or regulation, but only after prior
       wTitten notice to Palisades.

       17. Waiver.
        No failure or delay on the part of Agency or Palisades to exercise any of their respective
       rights, powers or privileges under this Agreement will operate as a waiver thereof, nor will
       any single or partial exercise of any right, power or privilege w1der this Agreement preclude
       any other or further exercise thereof or the exercise of any other right power or privilege by
       Agency or Palisades under the tenns of this Agreement, nor will any such waiver operate or
       be construed as a future waiver of such right, power or privilege under this Agreement.

   18. Governing Law
   This Agreement will be construed . and interpreted in accordance with the laws of the State of
   New Jersey. The parties hereto agree to submit to the exclusive jurisdiction of the state and
   federal courts located in New Jersey. The parties agree that injunctive relief may be necessary to
   prevent irreparable harm or to preserve the status quo. Each of the parties waives their rights to
   trial by jury, if any, in any and all actions proceedi11gs of any kind. nature, or description
   whatsoever, in any court whether arising out of, under or by reason of this Agreement. This
   waiver also applies to proceedings resulting from a party's act or failure to act under this
   Agreement and to proceedings brought to detennine the interpretation or ability of any part of




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    this Agreement. This clause will survive the termination of this Agreement whether for cause or
    without cause ..

     19. Entire Agreement.
         This Agreement constitutes the entire agreement between the parties v.~th respect to
         Receivables to be forwarded for legal action through Agency's Collection Counsel Network
         and may be amended, changed or modified only by the \Vritten consent of the parties hereto
         and Ov..11er's Lenders. This Agreement supersedes all prior written or oral agreements with
         respect to Receivables to be forwarded for legal action through Agency's Collection Counsel
         Network between any Palisades Entity and Agency as to the servicing of any such
         Receivables, and governs the servicing of any such Receivables referred to Agency by any
         Palisades Entity prior to the effective date of this Agreement.

    20. Successors and Assigns.
        This Agreement shall inure to the benefit of and be binding upon Palisades and Agency and
        their respective successors and assigns. Neither this Agreement, nor any rights hereunder.
        may be assigned or pledged. in whole or in part, by Agency without the prior written consent
        of Palisades. Any such action in violation of this Agreement shall be void. This Agreement
        may be assigned at any time by Palisades to Owner's Lender or any designee thereof by
        writing between Palisades and such assignee.

    21. Severability.
        If any provision of this Agreement or any party hereof is held invalid. illegal, void or
        unenforceable by reason of any rule of law, administrative or judicial provision or public
        policy, such provision will be ineffective only to the extent invalid, iJlegal, void or
        unenforceable, and the remainder of such provision and all other provisions of this
        Agreement will nevertheless remain in full force and effect.

    22. Independent Contractor.
        Nothing contained in this Agreement will be deemed to constitute Palisades and Agency as
        partners, joint ventures. principal and Agency, or employer and employees. Agency is solely
        responsible for maintaining its own business insurance and worker's compensation policy
        and paying all its applicable taxes, assessments, fees. costs and expenses. Nothing in this
        Agreement will constitute or authorize Agency to bind Palisades to any obligations, or to
        assume or create any responsibility for or on behalf of Palisades to any third-party. Any
        monetary arrangements made by Agency with outside collectors or attorneys \Vill be
        Agency's sole responsibility and will in no way constitute or imply any additional obligation
        on the part of Palisades, whose obligation is limited to payment to Agency of compensation
        earned in accordance with this agreement. In the event any account is referred by Agency to
        an attorney or outside collector. the conditions of this agreement \\·i ll be made part of
        Agency's arrangement with such attorney or outside collector. This provision is not intended
        to limit any restriction in this Agreement or Agency's right to use third parties or others to
        collect any Receivables.

    23. Facsimile and Counterparts. This Agreement may be executed and delivered by facsimile
        and/or in two or more counterparts, each of which will be deemed an original and all of



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   IN WITNESS WHEREOF, the parties have executed this Collection Management Agreement as
   of the date first above wTitten.


                                   PALISADES COLLECTION, L.L.C.



                                   By: CP2'
                                   Name: Gary Stem.        Ca.,,._~,..,,;   W 1 LC..:,.. ..r
                                   Title:    Mftflsge1




                                   By:
                                   Name:
                                   Title:




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    Appendix A
                                          FEE SCHEDULE

    Dated:     Z.asl;w/   J.G l(}{) 'i
    Contingency fee to be paid inclusive to Agency and Network:
      ·%. In accordance with Section 3(c) of this Agreement, Agency shall not be entitled to a
    contingency fee on court costs recovered.




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          AMENDMENT TO ATTORNEY NETWORK COLLECTION AGREEMENT
                                        Date: June~' 2009
              This    AMENDMENT           TO     ATTORNEY         NETWORK         COLLECTION
      AGREEMENT (the "Amendment") is made bet"veen Palisades Collection, L.L.C.
      ("Palisades"') and Aries Capital Partners. Inc. dba Aries Data Collections ("Agency").
              WHEREAS. Palisades and Agency entered into an Attorney Network Collection
      Agreement dated January 15. 2009 pursuant to which Agency provides services to
      Palisades and Palisades Acquisition XVI, LLC (the ··owner'") v.ith respect to certain
      defaulted consumer receivables O\rned by the Owner and referred to Agency by Palisades
      (the •·Agreement"):                                                               ·
              WHEREAS, Palisades and Agency now desire to amend the Agreement to change
      Agency's fee with respect lo certain closed judgment accounts referred to Agency for
      collection and to provide for the reimbursement to Agency of certain costs;
              NOW. THEREFORE. in consideration of the mutual covenants contained herein
      and other good and valuable consideration. receipt of which is hereby acknowledged, the
      parties agree as follows:
                 I. Capitalized tem1s used in this Amendment and not othernise defined
                    herein shall have the same meaning set forth in the Agreement.
                2. Appendix A is amended lo read as follows:
                                                ''FEE SCHEDULE
                    Contingency foe to be paid inclusive to Agency and Network:
                    For col lcction on judgments filed in New York: ·
                    For collection on judgments filed in states other than New York:        ' lus
                    the assigned law finn's commission, not to exceed a total of ·
                    In accordance with Section 3(c) of this Agreement. Agency shall not be
                    entitled to a contingency fee on court costs recovered."
                 3. A new sentence is added after the third sentence of Section 3(c) to read as
                    follows: "Notwithstanding the foregoing sentence. Agency shall be
                    reimbursed upon request for certain of its out-of-pocket costs for third-
                    party asset searches in connection with judgments filed in states other than
                    New York on which Agency collects any amounts O\\ing.                 These
                    reimbursable costs are: employment locate fee (bet\veen $I 0.00 and
                    $75.00): bank locate fee (between $20.00 and $65.00)".
                 4. Except as specifically modified by· this Amendment. the terms of the
                    Agreement shall remain in full force and effect.

      lN WITNESS WHEREOF, the parties have executed this Amendment to Attorney
      Network Collection Agreement as of the date first above written.




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                           ARIES CAPITAL PARTNERS, INC. dba ARIES DATA
                           COLLECTIONS~


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                           Title:
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